             Case 2:16-cv-01285-JHE Document 1 Filed 08/04/16 Page 1 of 5                            FILED
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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION


                                               ) Case No.:
REBECCA WITHROW,                               )
                Plaintiff,                     )
       vs.                                     )
                                               ) COMPLAINT
MAURY COBB, ATTORNEY AT LAW,                   )
LLC.                                           )
                                               )
                Defendant.                     )
                                               )


       Plaintiff, Rebecca Withrow, on behalf of herself (hereinafter “Plaintiff”), by and through

her undersigned attorney, hereby sues Defendant, Maury Cobb, Attorney at Law, LLC

(hereinafter “Defendant”), and alleges as follows.

                               PRELIMINARY STATEMENT


1.     This is an action for damages arising from Defendant’s violations of 47 U.S.C. §227 et

seq., the Telephone Consumer Protection Act.


                                JURSIDICTION AND VENUE


2.   This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.


3.    Venue is proper in this district under 28 U.S.C §1391(b).


                                           PARTIES


4.     Plaintiff is a natural person, who at all relevant times has resided in the City of

Winchester, Kentucky 40391.
            Case 2:16-cv-01285-JHE Document 1 Filed 08/04/16 Page 2 of 5



5.       Defendant is a corporation doing business in the State of Kentucky, with its corporate

address as 301 Beacon Pkwy West, Suite 100, Birmingham, Alabama 35209.


                                     FACTUAL STATEMENT


6.       On or about March 4, 2016, Plaintiff began receiving automated telephone calls from

Defendant to her cellular telephone number.

7.       When Plaintiff did not answer, Defendant would leave automated messages through an

artificial voice for Plaintiff which stated as follows:

         We have an important message from the Office of Maury Cobb, Attorney at Law.
         This is a call from a debt collector. Please call 855-817-1285.

8.       Because she was unfamiliar with Defendant and why she would be receiving calls, on

March 28, 2016, Plaintiff called Defendant in an attempt to learn why she was receiving

automated telephone calls from Defendant.

9.       During the course of the phone call, Plaintiff provided her phone number to a

representative of Defendant and learned that Defendant was attempting to reach “Russell Fisher.”


10.      Plaintiff informed Defendant’s representative that she was not Russell Fisher and

Defendant’s representative replied that the phone number would be removed.


11.      Nonetheless, Plaintiff would continue to receive automated calls from Defendant in the

days and weeks thereafter.


12.      In total, Plaintiff received automated calls from Defendant at the following dates and

times:

            a.   March 4, 2016, 2:30 pm;
            b.   March 7, 2016, 1:59 pm;
            c.   March 17, 2016, 1:45 pm;
            d.   March 18, 2016, 1:14 pm;


                                                   2
            Case 2:16-cv-01285-JHE Document 1 Filed 08/04/16 Page 3 of 5



            e. March 28, 2016, 1:43 pm;
            f. April 4, 2016, 3:39 pm;
            g. April 6, 2016, 11:00 am;
            h. April 8, 2016, 1:45 pm;
            i. April 11, 2016, 11:56 am;
            j. April 12, 2016, 10:34 am;
            k. April 13, 2016, 12:02 pm;
            l. April 19, 2016, 3:53 pm;
            m. April 20, 2016, 2:09 pm;
            n. April 21, 2016, 1:48 pm;
            o. April 22, 2016, 1:50 pm.

13.     The automated telephone calls were all from the phone number 855-817-1285 which

belongs to Defendant.


14.     The automated telephone calls were placed to Plaintiff’s cellular telephone number 859-

xxx-9341.


15.     As Defendant had no relationship with Plaintiff, Defendant never had Plaintiff’s consent

to call her cellular telephone number.


16.     Defendant used an automated telephone dialing system to call Plaintiff’s cellular

telephone number for each of the phone call made to Plaintiff.


                                 COUNT I
         VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227

17.     Plaintiff repeats the allegations contained in paragraphs 1 through 16 and incorporates

them as if specifically set forth at length herein.


18.     Defendant never had consent to call Plaintiff’s cellular telephone number.


19.     Defendant placed automated telephone calls to Plaintiff’s cellular telephone number

through use of an automated telephone dialing system.



                                                      3
           Case 2:16-cv-01285-JHE Document 1 Filed 08/04/16 Page 4 of 5



20.    Defendant’s actions constitute a violation of 47 U.S.C. §227(b)(1)(A)(iii), to which their

falls no exemption to their behavior.


                                          JURY TRIAL DEMAND

21.    Plaintiff demands a jury trial on all issues so triable.



       WHEREFORE, Plaintiff, Rebecca Withrow, respectfully requests that this Court do the

following for the benefit of Plaintiff:

a.     Enter an Order declaring Defendant’s actions, as described above, in violation of the

       TCPA;


b.     Enter judgment against Defendant for all violations of 47 U.S.C. § 227b(1)(A)(iii)


c.     Enter judgment against Defendant for statutory damages for each violation of 47 U.S.C. §

       227b(1)(A)(iii) or treble damages of the Court deems the violations willful; and


d.     Grant such other and further relief as may be just and proper.


Dated this 25th Day of July, 2016.



                                               Respectfully Submitted,


                                               ___/s/ Curtis R. Hussey______________
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                                                  4
Case 2:16-cv-01285-JHE Document 1 Filed 08/04/16 Page 5 of 5




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                             5
